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                   SUPREME COURT OF THE STATE OF NEW YORK
                   COI-INTY OF NIAGARA

                                                              ------------------x
                   JANE DOE l, JANE DOE 2 and CAMELLIA BELLIS,                         INDEX NO: E17303912020
                                                 Plaintiffs

                          -against-                                                       ORDER



                   ONSTAGE DANCE, INC., ONSTAGE, LLC,                                MOTION SEQUENCE NOS.
                   DEANA CHIAPPONE dlbla ONSTAGE, DEANA                                   008, 009, & 010
                   CHIAPPONE KAHLE And MATTHEW MULLETT,



                                                 Defendants

                                                              -------------------x

                          WHEREAS Defendant ONSTAGE DANCE, INC. moved this Court under Motion

                   Sequence #008 for an order pursuant to CPLR 3212 for summary judgment in its favor against

                   Plaintiffs JANE DOE 1, JANE DOE 2, and CAMELLIA BELLIS (hereafter, "Plaintiffs"); and

                          WHEREAS Plaintiffs moved this Court under Motion Sequence #009 for an order

                   pursuant to CPLR 3215 for default judgment against Defendants DEANA CHIAPPONE d/bla

                   ONSTAGE and DEANA CHIAPPONE KAHLE; and

                          WHEREAS Plaintiffs moved this Court under Motion Sequence #010 for an order

                   pursuant to CPLR 3212 for summary judgment in their favor against Defendant MATTHEW

                   MULLET as to liability; and

                          UPON the papers fully submitted by the parties and the oral argument held on August

                   5,2024, on the Motion Sequence #008, 009, and 010, a copy of the transcript of which is

                   attached hereto and made a part hereof as Exhibit " 1";

                          IT IS HEREBY:




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                          ORDERED Plaintiffs' motion for a default judgment against Defendant Deana

                   Chiappone d/b/a Onstage Dance, LLC, Deanna Chiappone Kahle (Motion Sequence #009) is

                   DENIED; and it is further

                          ORDERED that Plaintiffs' motion for summary judgment regarding the individual

                   liability of Defendant Matthew Mullet (Motion Sequence #010) is GRANTED; and it is further

                          ORDERED that Defendant Onstage Dance, Inc.'s motion for summary judgment

                  (Motion Sequence #008) is DENIED; and it is further

                          ORDERED that a bench trial will take place to determine whether Defendant Onstage

                  Dance, Inc. is a successor in liability for the torts, if any, of Defendant Deanna Chiappone d/b/a

                  Onstage Dance, LLC, and Deanna Chiappone.




                   Datea.$qfofoZ| ,zoz4
                          Niagara, New York

                                                                HON. FRANK A. SEDITA,




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                       EXHIBIT A

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               1     STATE OE NEW YORK
                     SUPREME COURT _ PART II        :   COUNTY OE NIAGARA
               2

               3     JANE DOE 7, JANE DOE 2,
                     ANd CAMELLIA BELLIS,
               4                  Plainti ffs,
               5           -against-                                 Index No. E173039/2020
                     ONSTAGE DANCE, INC., ONSTAGE, LLC,      Motions
               6     DEANA CHIAPPONY d/b/A/ ONSTAGE,
                     DEANA CHIAPPONE KAHLE and MATTHEW MULLETT,
               7                  Defendants.
               B                                           115 Third Street
                                                           Niagara Fal-1s, New York
               9                                           August 5, 2024
              10     B e f o r e:
              11                       HONORABLE ERANK A. SEDITA, III
                                           Supreme Court Justice
              72
                     A p p e a r a n c e s:
              13
                                       MERSON LAW, PLLC,
              74                       By:   KIMBERLY KRAMER, ESQ.,
                                       950 3rd Avenue, Floor 18,
              15                       New York, New York 70022,
                                       Appearing Virtually for the Plaintiffs.
              L6
                                       MUSCATO & VONA,
              t1                       By: GEORGE V.C. MUSCATO, ESQ.,
                                       107 East Avenue,
              1B                       Lockport, New York 14094,
                                       Appearing for OnStage Dance, Inc.
              t9
                                       RUSSO & GOULD LLP,
              ZU                       By:   ELORINA ALTSHILER, ESQ.,
                                       484 Delaware Avenue, Third Floor,
              2L                       Buffalo, New York 74202,
                                       Appearing VirtualIy for Matt.hew Mullett.
              22
                                       DEANA CHIAPPONE,
              23                       Defendant, Appearing Pro Se.
              24                                           AMY E. COGHLAN
                                                           Senior Court Reporter
              25




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                                          DOE v. ONSTAGE DANCE, ET AL.

               1                       THE COURT: The next matter on the Court's

               2           calendar is Doe, Doe and Bel-lis v. OnStage Dance, Inc.,
               3           OnStage, LLC, Deana Chiappone, d/b/a Onstage, Deana
               4           Chiappone Kahle and Matthew Mullett,         Index Number
               5           E173039/2020. CounseI, note your appearances for the
               6           record, please.
               1                       MS. KRAMER: Good afternoon, your Honor. This
               B           is Kimberly Kramer, K-R-A-M-E-R, for aIl- t.he Plaintiffs           in
               9           this matter from Merson Law, PLLC.
              10                       MR. MUSCATO: Good afternoon, your Honor.
              11           George Muscato and I represent OnStage Dance, Inc.
              72                       MS. ALTSHILER: Good afternoon, your Honor.
              13           Elorina AltshiIer     from Russo % GouJ-d, G-O-U-L-D, LLP, for
              l4           Matthew MulIett.
              15                       THE COURT: And I see is       that Ms. Chiappone?
              t6                       MS. CHIAPPONE: Chiappone, yeS, your Honor.
              I1                       THE COURT: AlI     right.    First of all, we're
              1B           having a blended proceeding today. Mr. Muscato and Ms.
              79           Chiappone are here in person. Ms. Altshiler           and Ms.
              20           Kramer are here virtuall-y     or remotely. That's fine.
              2L                       As a prel-iminary matter, I'1] remj-nd you that
              22           you cannot record these proceedi-ngs by either audio or
              23           visual- means. If you do so, you'1l be in contempt of
              24           court, so don't do that.       Please note that everything is
              25           bei-ng stenographically recorded by a professional_ court




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                                           DOE v. ONSTAGE DANCE, ET AL.

               1            reporter.
               Z                        My process is to do a factual_ summary -- and I'm
               3           going to do a detailed factual        summary in   this   case
               4           then go over various contentions.          There's three motions
               5           before the Court. f'1I do it as succinctly as I possibly
               6           can. The purpose of that process is to frame the issues.
               1           Then I'l-l   invite oral argument. I've read your papers.
               U           You don't need to repeat what's in your papers, but. if you
               9           have something that you wish to add, I'lf          hear it.      And

              10           then if I can make a decision today, I will make a
              11           decision today. I have a sense of where I want t.o go but
              72            f never make that decision untif I hear from everyone.
              13                        So, before the Court are the parties' various
              t4           motions.
              15                        By way of background, this case is brought under
              76           the Child Vj-ctims Act.       In 1998, Defendant Deana
              71           Chiappone, eventually doing business as OnStage Dance,
              1B           owned and operated a dance studio at 58 Main Street in

              79           Lockport, New York. Plaintj-ffs were dance students at the
              20           dance studio.     Enrollment in dance lessons began generally
              2t            in September and culmlnated in a May recrtal held at a
              22            local theater.
              23                        Deana Chiappone hired Defendant or at least made

              24            arrangements with the Defendant to serve as a DJ for the
              25            May recital.     The Pl-aintiffs   aIlegedIy met Defendant




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               1           Mullett at their recital when the Plaintiffs           were minors.
               2                        In 2008, Shara Ellinger purchased Deana
               3           Chiappone's dance studi-o for approximately $30,000. The
               q           contract of sale included a provision wherein Chiappone
               5           confirmed that, and I quote, "there are no undisclosed or
               6           continqent liabil-ities        or t:-tle defects of OnStaqe or
               1           pertarning to its assets. If any such undiscfosed or
               B           contingent liabil-ities        or title   defects subsequentJ-y arise
               9           applicable in whol-e or in part to a period prior to the
              10           closing date, Shara shall grve Deana written notice of
              11           them. Deana shall then within 30 days foll-owingr receipt
              72           of the notice discharge the Iiabilities           or undertake to
              13           defend and hold OnStage free and harmless from them and
              L4           shall so notify Shara." That quotation comes from the
              15           stock purchase agreement, section four, page Lhree,
              16           paragraph D, as in Daniel, NYSCEF document number 161.
              71                        Upon the purchase of OnStage Dance, Inc. Shara

              1B           Ellinger learned that several basrc business functions
              t9           were basically nonexistent.           Accordingly,. Elli-nger
              20           implemented a payroll system, acquired
              2!           disabrL:-Ly/Iiability     and Workers' Compensation insurance,
              22            instituted a new curriculum with new dance classes, hired
              ZJ           all new staff,     established a new schedule and issued a
              24            client contract and handbook. In short, Ellinqer
              25            instal-Ied an entirely new operations manager.




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               1                        Additionally,     Ellinger implemented advertising
               2           through sociaf media outlets and even changed the sign on
               3           the studio door f rom Onstage Dance Stud:-o -- t.hat was Ms.
               4           Chiappone's business name and siqn           to OnStage Dance,
               5           Inc.   This all comes from the ElIinger deposition, NYSCEF
               6           document number L]2.
               1                        On September 9th of 2020         I'm sorry.
               B           Plaintiffs    filed the pending Summons and Complaint on
               9           September 9th of 2020 and an Amended Summons and Complaint
              10           on November 13t.h of 2020.
              11                        Plaintiffs   allege that Defendant Mullett
              L2           sexually assault them when they were still         minors and
              13           coul-d not consent by virtue of their young age.
              L4           Plaintiffs    further aI1ege that the sexual assaul-ts or
              15           encounters occurred sometime between 1991 and 1998 and
              16           took place at various locations, including Defendant
              l1           Mullet.t's house, one of the Pl-aintiff's       residences, a
              1B           hotel, and the theater where the recital was held.
              l9           Plaintiffs    claim varj-ous emotional- injur:.es as a result of
              20           these encounters, such as difficul-ty       makinq decisions,
              27           eating disorders and anorexia.
              22                        On October 19th of 2020 and December 4th of
              23           2020, Defendant Matthew Mullett joined issue by the filing
              24           of his Answers.
              25                        On February 2nd of 2027, Defendant Deana




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                                          DOE v. ONSTAGE DANCE, ET AL.

               1           Chiappone, doing business as OnStage, Deana Chj-appone
               2           Kahle;oined issue by the filing        of a pro se Answer.
               3                       On March 18th of 2027, Defendant OnStage Dance,

               4           Inc. joined issue by the filrng       of their Answer with
               5           affirmative defenses and cross-claims.
               6                       A Request Eor Judicial Intervention was filed            on

               1           September 9th of 2020, nearJ-y four years ago, in
               B           conjunct.ion with temporary relief      sought by the Plaintiffs
               9           and this matter was assigned to Justice Chimes as the
             10            designated justice to manage discovery in Child Victim Act
             11            cases. Justice Chimes conducted no Iess than 19
             12            conferences over the next three and a half years
             13            ultimately resulting in Pl-aintiffs filing        a Note of fssue
             L4            on February 13th of 2024.
              15                       NotabIy, duri-ng the course of discovery with
              t6           Justice Chimes, Plaintiffs      never moved for        Plaintiffs
              71           moved for an order to strike Defendant Deana Chiappone's
              1B           Answer because of her failure       to appear at a deposition to
              L9           answer questions in an examination before triaI,          also
              20           known as an EBT. That acronym will         become relevant    in a
              2t           moment.
              aa                       On October 13th of 2023, Justice Chimes issued

              2.3          what's commonly known as a conditional order, an order
              24           that conditj-onaIIy granted Plaintiffs'       motion upon Ms.
              25           Chiappone's failure to appear for deposition on or before




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               1           November 30th of 2023. The conditional          order can be found
               2           as NYSCEF document number 145.
               3                       Justice Chimes' case notes reflect that. on
               4           November 13th of 2023 -- one month after          the issuance of
               5           her conditional order but stilI        before the depositj-on
               6           depletion deadline -- it was reported to Justi.ce Chimes
               1           that Chiappone has agreed to appear. Justice Chimesr
               B           notes also indicate that on December 11th, 20231 :-t was
               9           reported that, and I quote, "no EBT of Chiappone" had
              10           occurred. Justice Chimes notes further i-ndicate however
              11           that on December 19th of 2023, it was reported to her by
              72           the Iawyers that the Chiappone deposition was rescheduled
              13           for January 3rd of 2024 and Deana Chiappone was in fact
              L4           deposed on January 3rd of 2024.
              15                       On Eebruary 13th of 2024, the Plaintrff          fil-ed a
              t6           Note of Issue and Certificate       of readiness certifying      that
              I1           all discovery was complete and this matter was ready for
              1B           trial.
              L9                       The case was then transferred to this court, to
              20           frer as a trial   part and a Trial Scheduling Conference was
              2t           conducted on March the 19th of 2024.
              22                       A Trial Scheduling Order issued on April 1st of
              23           2024

              24                        I ordered lury selection for October Bth of
              25           2024.      also ordered that any motions for summary




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               1           judgment were to be fifed by June 15th of 2024, that any
               2           opposition papers were to be filed by July 15th of 2024,
               3           and oral argument was schedul-ed for July 24Lh of 2024.
               4                       That didn't go welf, July 24Lh of 2024. We had
               5           all kinds of technical- issues, starting with issues on the
               6           Court's end. There was some l-ssues on Ms. Altshiler's           end

               1           that were eventually resolved but Ms. Chiappone wasn't
               B           here and T think T said on the record I'm declaring the
               9           24Lh a muJ-J-:-gan. We reschedul-ed rt for today.
             10                        I should note that at no time          getting back to
             11            when we first    conferenced the case, at no trme during the
             72            March 19th conference with counsel- or at any other
             13            appearance before me was rt ever -- or my Iaw clerk, Ms.
             74            St. Mary, was it ever mentioned by any party that
              15           Defendant Deana Chiappone's Answer was considered stricken
              16           by operation of Justice Chimes' October 13th, 2023 order.
              71           Which brings us to the motions that are presently before
              1B           the Court. There's three of them.
              t9                       Motion number eight, June 6th of 2024, Defendant
             20            OnStage Inc. filed    a motion for summary judgment seeking
             2T            dismissal of aIl complaints against them or it,          claiming
             22            there is no successor liability       against them.
              Z3                       Defendant Onstage Dance contends           I'm sorry,
              24           OnStage Dance, Inc. contends that it i-s not liable          for the
              25           torts of i-ts predecessor and rn support of their motion




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               1           Defendant OnStage, Inc. submits a Memorandum of Law, Mr.
               2           Muscato's attorney af f idavit wit.h el-even exhibits,
               3           including relevant pleadlnqs, the stock purchase agreement
               4           and deposition transcripts.
               5                       In opposition, Plaintiffs      submit an attorney
               6           affidavit   wherein they contend that the de facto merger
               1           doctrine applies and there are issues of fact for the
               B           Court to decrde.
               9                       Motion number nine was filed on JuIy 11th of
              10           2024- That motion is a motion for default judqment filed
              11           by the Plaintiff    against Deana Chiappone doing busi-ness as
              72           OnStage claiming t.hat Deana Chiappone's Answer was
              13           stricken as a result of Justice Chimes' October 13th, 2023
              L4           order and therefore default must be entered against Deana
              15           Chiappone d/b/ a OnStage.
              t6                       On JuIy 24Lh, 2024 M.s. Chiappone submitted a pro

              l1           se affidavit   -- that can be found at NYSCEE document
              1B           number 203      in opposition to suflimary judgment. Pretty
              19           wel-I written for a non-Iawyer. She emphasizes that she
              20           was in fact deposed. This affidavit         appears to be in
              2t           response to the Court's July 24Lhr, 2024 correspondence
              22           advising Ms. Chiappone that her personal appearance is
              23           required i-n court today. And she's here. Anyway, that
              24           Ietter can be found at NYSCEF document number 202'
              25                       Ms. Chiappone also avers relevantly that Matthew




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               1           Mul-lett volunteered to act as a DJ and was never rn her
               2           employ.
               ?                       Motion number ten was filed on June 13th 2024.
               4           That's a sunrmary judgment motion filed by the Plai-ntiff
               5           against Matthew Mullett consistent with the deadlines
               6           provided rn the Trj-al- Scheduf ing Order.
               1                       On JuIy 18th, 2024, at 12:01 p.fr., beyond the
               B           deadline for responding papers, the Court received an ex
               9           parte e-maiI from one Jessica Benham, who identified
              10           herseff as someone from Miss Altshiler's          office or faw
              11           firm, statinq the following, and I quote:
              T2                        "Our of fice represents OnStag,e Dance, Inc. j-n
              13           regards to the above-referenced case. Our office             j-s

              14           requesting an adlournment on mot-ion number nine for 30
              15           days so we can get an opposition. "
              76                       Within about. fifteen minutes of that
              71           correspondence, my Confidentlal Law Clerk, Kristin St.
              1B           Mary, responded in writing via e-mail to aIf counsel
              79           advising them that the Court does not conducL ex parte
              20           communications. We don't talk to one lawyer.              We talk   to
              27           all the lawyers or afl the litigants.           Ms. St. Mary also
              22           reminded counsel that on Aprrl 1st, 2024, a Triaf
              ZJ           Scheduli-ng Order was issued wherein it. was ordered that
              24           all motions were to be filed by June 15th and all-
              25           opposition papers were to be fj-ted by JuIy 15th of this




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               1           year. Ms. St. Mary further advised counsel that seekingr
               2           an extension or an adjournment three days after the
               3           expiration of the deadline without any qood cause basis
               4           stated woul-d not support such an extension- Additionally,
               5           no other party was put on notice of this request and such
               6           a request woul-d impede upon expert drsclosure deadlines as
               1           jury selectron is scheduled for October the Bth.
               B                       Neither Ms. Benham nor Ms. Altshiler        or anyone
               9           else from Ms. Altshil-er's firm responded to the Court's
              10           e-mail-, Ms . St . Mary' s e-mail .
              11                       I think that covers it as succinctly as I can.
              72           So, in order of who filed the first        shot, that's you Mr.
              13           Muscato.
              14                       MR. MUSCATO: Yes/ your Honor.
              15                       THE COURT: Okay. So i-f you have oral_ arqument,

              I6           I'l-1 hear it.
              71                       MR. MUSCATO: WeIl, I      think you obviously
              1B           outlined the issues very wel-1.
              19                       THE COURT: Thank you.

              20                       MR. MUSCATO: In my --       for fear of repeating
              27           myself from my motion and the Memorandum of Law, I mean
              22           the courts have certarnly recognized some exceptions with
              23           respect to the purchase of assets in a case of this
              24           nature.
              25                       It's   rnteresting when I read the response of the




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               1           PIai-ntiffs'     attorney that the Plaintiffs    focused on this
               2           so called de facto merger. You know, quite candidty, your
               3           Honor, maybe one should have focused on the continuation
               4           of the busj-ness, whi-ch would have been one of the
               5           exceptions for successive lrability,         but. you very wel-1
               6           pointed out that there was really an entirely          new

               1           operation in effect when Shara Ellinger purchased this
               B           business. But this was not a de facto merger at all.
               9           Shara Ellinger did not come to the table with any kind
              1n           of --
              11                          THE COURT: HoId on.    Did somebody say
              12           something?
              13                          MS. ALTSHILER: Can you guys hear me? Mr.
              14           Muscato was making his argument.
              15                          THE COURT: Miss AltshiJ-er,    you're breaking up.
              t6           I sugqested last time we were here that you might want to
              71           appear today personally but you're here virtually.
              1B           There's more technical difficulties.          Can you hear Mr.

              L9           Muscato? There's no response. I don't know what to do.
              20           f've suggested that counsel appear in person.           Ms.

              27           Altshiler      decided not to and we have problems. Now she
              22           has logged off of Teams apparently,' is that correct?
              ZJ                          THE CLERK: Yes, Judge.

              24                          THE COURT: Let's   give Ms. Altshifer    an

              25           opportunity to log back on to Teams. Okay. Ms. Altshiler




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               1           is back. Great. Go ahead, Mr. Muscato.
               2                         MR. MUSCATO: Your Honor, I was si_mply stating
               3           the facts of thj-s particular case and there really aren't
               4           any facts in dispute.       There may be the application of the
               5           facts, which would be a matter of the Court's discretion
               6           in reviewing the law, but there's really no facts in
               1           dispute.      I cited in my brref that R & D Electronics,
               B           Inc., which fairly     cJ-early sets out the different       crit.eria
               9           that a court might consider in determining whether there
              10           was any kind of a merger. And as you pointed out in
              11           addressing us initially,       there just simply isn't any of
              72           that here other than the fact that when Shara Ellinger
              13           purchased the business and stock of the             of Deana
              14           Chi-appone's, she used the same address. She remained at
              15           the same location.      But the operation was
              L6                         THE COURT: The building.

              1-1                        MR. MUSCATO: Yes, it's     a building, your Honor,
              1B           but there's no continuation of ownership. Deana Chiappone
              t9           did not work for Shara. The client             as my client
              20           test.ified to, the client list       is always different every
              27           year. There's a different board of directors.             She

              22           implemented all kinds of procedures t.hat did not exist.
              23           It was a dance studio, no question, but there was a
              24           significant     difference between the dance studio that
              25           exist.ed before as testified      to and undisputed and the one




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               1           that Shara ElIinger ended up creating when she bought
               z           basicall-y the rrqht to operate in this location.
               3                          So, as a practical matter, rf you just accept
               4           the facts for what they are, they do not satisfy what the
               5           courts have addressed in the R e D Electronics v. NYP
               6           Management or really any of the other cases.           So I think
               1           that there is no assumption of liabil-ity        on the part of my
               B           client.       One of the arguments for   this merger of course is
               9           good will,     but there really isn't any showing here of any
             10            significant      good wilI.
              11                          So, when you apply the facts to the established
              t2           1aw, it would appear that. a motion of summary judqment
              13           would be in order.
              t4                          THE COURT: Okay.     I know the other two motions
              15           really don't concern you very much, motion number nine and
              16           motion number ten.        Is there anything you have to say
              71           regarding them?
              1B                          MR. MUSCATO: I do.     f don't know which exactly
              t9           one.

              20                          THE COURT: Motion number nine is     the motion by
              2I           the Plaintiff      for a default judgment against Ms.
              22           Chiappone. That's based upon her refusal to be deposed
              23           even though she was deposed. And motion number ten is the
              24           Plaintiffs'      motion for summary judgment against Matthew
              25           MuIlett.




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               1                        MR. MUSCATO: Judge, I don't have any comments
               Z           with respect Lo ten, Matthew Mullett.          I do feel that -- I
               3           think I put this in my affidavit,        I provided all of the
               4           discl-osure information to Ms. Chiappone,s attorney.            There
               5           was nothing new qiven to them at a subsequent date.             There
               6           certainl-y is no prejudice here. She was lat.e but she
               1           submitted herself to a deposition.         They would not have
               B           learned anything differently        had rt been done in November
               9           versus January. So f think the Court has a great deal_ of
              10           discretion here and she should be al-l-owed to have --
              11                         THE COURT: Seems like     Justice Chimes is okay
              t2           with rt.
              13                        MR. MUSCATO: Seems like.
              14                         THE COURT: Yeah, okay.

              15                        MR. MUSCATO: But, you know, quite candidly,

              76           your Honor, with a default judgment., if this was to go to
              11           trial,     I really question whether there would be a verdict
              1B           aqainst Miss Chiappone, so they obtain by a default what
              79           they probably malz not get after a trial.         So without the
              ZU           showing of some degree of prejudice here on the part of
              27           the Pl-aintiffs,    I think that motion shou]d be denied.
              22                         THE COURT: Thank you, Counsel.       AII right.
              23           Next rs the Plaintiff.         Ms. Kramer, we have a couple
              24           motions from you. One is your default judgment motion
              25           against Deana Chiappone and you also made             that.'s motion




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               1           number nine motion.      Number ten is    your summary judg'ment
               2           motion against Matthew Mullett.         And if you want to say
               3           anything rel-ative to motion number eight, the motion for
               4           summary judgment rel-ative     to successor liabilit.y     fited by
               5           Mr. Muscato, you can do that too.         All up to you.      Go

               6           ahead.

               1                        MS. KRAMER: Yes, your Honor. I'I1          take each in
               B           turn.    And thank you for your summary and procedural_
               9           history of this case.
              10                        So, as to the motion for default judgment., I was
              11           not aware that, you know, Judge Chimes striking of the
              I2           answer was an i-ssue. We did have a conference after the
              13           conditional- orders were issued and after Ms. Chiappone
              14           failed to appear for deposition in which Ms. Chimes
              15           Judge Chimes, ffiy apologies.
              76                        THE COURT: How come absent from your motion

              l1           papers was the fact, dt least -- maybe I'm making a
              1B           mistake -- was the fact that Ms. Chiappone was indeed in
              19           fact deposed? Why didn't you mention that?
              20                        MS. KRAMER: Because, your Honor, T just didn't
              2t           think it was relevant to the motron because there's
              22           honestly three pages of Defendant Chiappone's failure to
              23           comply with the Court orders and all- of those were
              Zq           considered in the motion to strike the Answer that we
              25           submitted.




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               1                       THE COURT: Okay. Go ahead.

               2                       MS. KRA_L4ER: f 'm sorryf your Honor. So, yes,
               3           Judge Chimes did state that the Answer was stricken at
               q           that conference. I can absolutely get the transcript. and
               5           provide it to the Court if that is in question.
               5                       But as far as the prejudj-ce, f mean, you noted
               1           the date on this case, your Honor. It is a 2020 case.
               8           And this case has been delayed for two years because of
               9           Defendant Chiappone's repeated failure         to foll_ow court
             10            orders, to respond to Plaintiffs'        qood faith efforts.      I
             11            have it all listed out on document number 201 of the
             72            record. And it's         it's   been two years of prejudice to
             13            our clients that that's really --
             \4                        THE COURT: What's your prejudice?          She was
             15            deposed, wasn't she, in January?
             16                        MS. KRAMER: She was deposed in January but we
              11           did try to depose her multipJ-e times last year and there
              1B           was also a discovery that was not provided that we had to
              79           do another motion.
              20                       THE COURT:    Ms. Kramer, look, T'm fooking at
              27           Justice Chimes' notes. It seems there was an agreement to
              22           reschedul-e her deposition to December 19th of 2023 and
              23           then to January 3rd of 2024.        Seems from her notes that

              z4           that was all discussed with the ;udge and she was okay
              25           with it.    And Ms. Chiappone was indeed deposed on January




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               1           3rd of 2024. You didn't mention that to me, which I think
               2           is reall-y salient/ and afso yourre claiming that the
               3           failure of her to be deposed -- which she was -- has
               4           resulted :.n a prejudice to you. What's your prejudice?
               5                        MS. KRAMER: Your Honor, two years of failure           to
               6           comply with discovery demands 1n detayinq this case for
               1           two years.
               B                        THE COURT: What don't     you know from Ms.
               9           Chi-appone? How are you prejudiced? You're just repeatingr
              10           to me that she didn't         she wouldn't sit for a deposition
              11           for two years. You're not telling         me how you're
              12           prejudiced.     Tell me how you're prejudiced.
             13                         MS. KRAMER: Nor lour Honor, it's        not that she
             74            didn't sit for a deposition for two years.          We have had to

             15            file two motions regardrng discovery.         We have had to

             t6            attends multiple court conferences and we have had to
              11           submit to the Court and have the Court sign multiple
              1B           orders in which the Chiappone Defendants just complet.ely
              t9           did not respond, did not. comply with.        And, I mean, I
             20            could go through the list,      your Honor, but I know it's
             2t            already in the papers, so I do not want to take up the
             22            Courtrs time.
             Z5                         THE COURT: Okay.      Fair enough. Go ahead. Why
             24            don't you move on to the other motions.
              25                        MS. KRAMER: Thank you, your Honor. As to the




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               1           final- motj-on, PIai-ntiffs have nothing further to say on
               2           that.    As you know, it's      an unopposed motion for summary
               3           judgment. Clearly there are no issues of fact as to
               4           whether or not Mr. Muflett is l-i-able under the Child
               5           Victims Act.     So but as to motion number eight, which I
               5           believe is the motion reqarding Mr. Muscato's client --
               1                       THE COURT: Yes, successor fiability.

               B                       MS. KRAMER: Yes. Thank you.           I wanted to make
               9           sure I got the motion number correct.
              10                       THE COURT: Right-

              11                       MS. KRAMER: I mean, it's         our position that
              72           while there are some factors that, you know, do not
              13           support a de facto merger doctrine, it's          our position that
              74           there are factors that do support it.           That there is
              15           factor number two, the dissolution of the business,
              76           because once it was signed over from Ms. Chiappone to Ms.
              L1           El1inger, OnStage Dance, Inc. ceased to exrst under Ms.
              1B           Chiappone's direction.         And then also as a factor four,
              79           the fact it's    the same exact assets, same exact place,
              20           same exact name, same exact locatj-on, they used the same

              2t           attorney on the contract.         We ;ust   believe there are
              ZZ           another fact for a de facto merger doctrine to apply here.
              23                       THE COURT: Okay.        Ms. Altshiler?
              24                       MS. ALTSHfLER: On behalf of Matthew Mullett            we

              25           take the motion by Onstage Dance and incorporate it.




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              1                        THE COURT: We're having difficulty         hearing you.
              2           The court reporter -- we can't understand what. you're
              3           saying.     Why don't you start again.

              4                        MS. ALTSHILER: Matthew MuIlett.         Can you hear
              5           me?

              6                        THE COURT: Yes, I can hear you, but we can only

              1           hear every other word that you're saying. Try agrain.
              B                        MS. ALTSHILER: On behalf of Matthew MuIIett          we

              9           take no positi-on --
             10                        THE COURT: Mrs. Altshi-Ier,      Iook, I'm tryrng my
             11           best.    Ms. Altshiler,    I suggested last time that you
             12           appear in person because of these technical issues.             We're
             13           having the exact same technical issues once more. By the
             L4           wdy, you're the only lawyer I have them with.
             15                        MS. ALTSHILER: In the courLhouse in Erie County
             16            right now. I am on the Court's Wi-Fi physically in the
             l1           Erie County Courthouse. I don't know what else you want
             1B           me to do.
             t9                        THE COURT: Now I can hear t.hat part.         So your
             ZU           position is you take no position, Ms. Altshiler?
             27                        MS. ALTSHILER: No position as to OnStaqe.
             22                        THE COURT: As to OnStage. Again Ms. Altshiler

             23            is breaking up.
             24                        MS. ALTSHILER: No position as to Deana.
             25                        THE COURT: No position       as to Deana Chlappone.




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               1           That's what I'm getting.       It's hard.
               2                       MS. ALTSHILER: Correct, yes.         Correct.
               3                       THE COURT: Okay.       Ms. Chiappone, do you want to
               4           be heard, ma'am?
               5                       MS. CHIAPPONE: ActualIy, your Honor
               6                       THE COURT: Hold on.       Ms. Chiappone is speaking.
               1           I'II   circle back to you, Ms. Altshiler.
               B                       MS. CHIAPPONE: I just want. to say I did recei-ve
               9           correspondence from the Court and a vol-cemail but I did
              10           not received correspondence from Merson Law. I'd ]ike
              11           that noted.
              72                       THE COURT: You never got their papers?

              13                       MS. CHIAPPONE: No, your Honor.
              t4                       THE COURT: How come you didn't        serve -- Ms.
              15           Kramer, how come you didn't serve Ms. Chiappone with your
              16           papers ?

              l1                       MS. KRAMER: We did.       We served via Fed Ex and

              1B           via certified    mail copy. I can upload the proof to the
              L9           Court..

              20                       THE COURT: What address did you mail it            to?

              2t                       MS. KRAMER: We mailed it to the most recent
              22           address that I believe was provided on the record when --
              ZJ                       THE COURT: I      didn't ask you about Lhe recency
              24           of the address. I asked you for the address.            What

              25           address did you mail it to?




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               1                       MS. KRAI{ER: Irm pulling it up rrght now. 8973
               2           Townlj-ne Road, Middleport, New York 14105.
               3                       THE COURT: Is     that your address?
               4                       MS. CHIAPPONE: Yes, your Honor.
               5                       THE COURT: I      don't know. That's her address so
               6           okay. Ms. AItshiler,      anything else you wanted to say?
               1                       MS. ALTSHILER: Yes.
               B                       THE COURT: Go ahead.

               9                       MS. ALTSHILER: Wj-t.h regards t.o the motion f or
              10

              11                       THE COURT: AlI      I got so far from you with
              1-2          regard to the motion regardrng sum. That's the entire
              13           quote that I have.
              74                       MS. ALTSHILER: With regard to the moti-on f or
              15           summary judgment as against Matthew MuIlett,          there was 1aw
              16           office failure to timely put in opposition.           My associate,
              l1           Trishe L.A. Hynes, was working on that and had contacted
              1B               and -- to request an adjournment from all parties as
              79           weII as the Court. Had indicated to Ms. Hynes as well- as
              20           to obtain that adjournment -- when clearly she had made no
              2t           contact with anybody. Ms. Hynes then reconfi-rmed with --
              22           Ms. -- Ms. Hynes, hy associate, confirmed with Miss
              23           Benham, our former paralegal who is        no longer employed by
              24           the firm, that she - was in touch with the parties and the
              25           Court to secure that adjournment. Clearly that contact




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               1           was by Mr. Benham -- indicated that to Ms. Hynes              and
               2           the motion date had passed Ms. Hynes to Ms. Benham that
               3           she did -- from the court          to reconfirm in writing that
               4           Ms. Benham had obtained that adjournment. My suspicion is
               5           at that point Ms. Benham then reached out to -- what woul_d
               6           be the frrst    time despite       communicated to us that she
               1           had -- and miscommunicated to the court what our firm
               U           represents and the nature of the contempt. At that point,
               9           as your Honor accurately recited, the Court conveyed to
              10           all partres that the request was
              11                       THE COURT: Take down what. you can.

              12                       MS. ALTSHILER: I was          I -- and had expected
              13           that my -- afforded an opportunity to properly put in --
              t4           could be made for judgment on the merits rather than on a
              15           procedural -- request is that we be allowed to put in
              t6           opposi-tion and I would allow for -- I woul-d agree to a
              T1           decide on the admission on those papers if the Court -- if
              1B           that request is denied then certainly I am not goinq to
              79           argue the merits but would put in an objection to              not
              20           having that opportunity to do so.
              2t                       THE COURT: Okay.       AII right.
              ZZ                       MS. ALTSHILER: That is a1l.
              23                       THE COURT: Startrng      with moti-on number eight
              24           where Defendant OnStage Inc. seeks suflimary judgment in its
              25           favor, it is welf set.tled that summary judgment permits a




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                1          party to show, by affldavit      or other evidence, that there
               Z           is no materiaf issue of fact to be tried and that judgment
               3           may be decided as a matter of       law. Brill    v. City of New
               4           York, 2 NY3d 648.
               5                        The proponent of a sufirmary ;udgment. motion must
                6          make a prima facie showing of entitl-ement to judqment as a
               1           matter of law, tendering sufficient        evidence to
               B           demonstrate the absence of any genuj-ne, materi-al- lssues of
                9          fact.     Failure to make such a showinq requires denial of
              10           the motion regardless of the sufficiency of the motj-on
              11           papers. Winegrad v. New York University Medical Center,
              1,2          64 NY2d 851.
              13                       However, once a prl-ma facie showing has been
              L4           made, the burden shifts to the party opposing the motion
              15           for summary judgment to produce evidentiary proof in
              16           admissible form sufficient      to establish the existence of
              t1           material issues of fact which require a trral- of the
              1B           action.    Alvarez v. Prospect Hospital, 6B NY2d 320.
              79                        In contrast to evidentiary proof, mere
              20           conclusions, expressions of hope or unsubstantiated
              27           allegations or assertions are insufficient to defeat a
              22           prima facie case for summary judgment. That's from the
              23           Justinian Capital case, 2B NY3d 160; also/ see Kipp v.
              24           Marinus Homes, 762 AD3 7613, Eourth Department case from
              Z5           2078.




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               1                        As a general rule, a corporation which acquires
               2           the assets of another i-s not l_iable for the torts of its
               3           predecessor. There are, however, exceptions to this
               4           general rule.     The corporation may be held liable for t.he
               5           torts of its predecessor rf:        One, it expressly or
               6           impliedly assumed the predecessor's tort liability;           two,
               1           there was a consolidation or merger of seller          and

               B           purchaser; three, the purchasing corporation was a mere
               9           continuation of the selling corporati-on; orr four, the
              10           transaction is entered into fraudulently to escape such
              11           obligations.     Dutton v. Young Mens Christian Associat.ion
              t2           of Buffalo Nlagara, 207 AD3d 1038, Fourth Department case
              13           2022. That's a pretty important case because I'm gonna
              L4           cite to it a couple more times.
              15                        Regarding the second exception, the de facto
              16           merger doctrine is based on the concept that a successor
              71           that effectiveJ-y takes over a corporation in its entirety
              1B           should carry the predecessorrs llabrlities         as a
              t9           concomitant to the benefits it derives from the good wil-I
              20           purchased which is consistent with the desire to ensure
              27           that a source remains to pay for the victim's injuries.
              ZZ           Same case.

              23                        Traditionally,   courts have consrdered several
              24           factors in determining whether a de facto merger has
              25           occurred such as: One, the continuity of ownership; two,




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               1           the cessation of ordinary business and dissoluLion of the
               2           predecessorrs as soon as practically        and IegaJ-1y possible;
               3           three, assumption by the successor of the l-iabilities
               4           ordinarily necessary for the un-interrupted continuation
               5           of the business of the predecessor,' and, four,         a

               6           continuity of management, personnel, physical location,
               1           assets and general business operati-on. Not al-l of these
               B           factors are needed to demonstrate a merger. Rather, these
               9           factors are only indicators that tend to show that de
              10           facto merger. Indeed, public policy considerations
              11           dictate that at least in the context of tort liability,
              t2           courts have flexi-bility       in determining whether a
              13           transaction constrtutes a de facto merger. Once again,
              T4           Dutton v. YMCA of Buffalo Niagara, 207 AD3d 1038.
              15                       The determination of successor 1:-ability is thus
              76           a non-jury issue, a legaI issue to be determi-ned or
              71           decided by the courts, as further evidenced by the fact
              1B           that there are no jury trials        for successor liability
              I9           issues contained rn the PatLern Jury fnstructions.             See

              20           Matter of Colonial v. Lakeview Advisors, 125 AD3d 7292,
              2t           Eourth Department case from 2075, wherein the Fourth
              22           Department held that. "under the C.P.L.R., a jury trial              is
              23           avaifable in an action in whi-ch a party demands and sets
              )A           forth facts which would permit a judgment for a sum of
              25           money only. "




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               1                       In my view, Defendant OnStage Dance, Inc. has
               2           established a prima facie ent.itlement to judgment as a
               3           matter of l-aw on the issue of successor liabj-lity         in that
               4           they have demonsLrated that a corporation which acquires
               5           the assets of another is not liabl-e for the torts of its
               6           predecessor. AdditionalIy, with respect to the four
               1           potential exceptions to that rule of Iaw, Mr. Muscato/ you
               B           have establ-i-shed: One, that your client did not expressly
               9           or impliedly assume its predecessor's tort Iiability            as

              10           established by section four, paragraph D of the stock
              11           purchase agreement. Two, there was not a consol-idation or
              72           merger seller and purchaser -- I'm sorry.           Let's start
              13           that over. There was not a consolidation or merger of the
              t4           sel1er and purchaser as the purchaser did not have a
              15           previ-ous dance studio business that she was growj-ng by
              16           adding OnStage to that imagined portfolio.           Three, the
              l1           purchasing corporation was not in their continuation of
              1B           the selling corporation as there was no continuity of
              79           ownership, management, personnel or any busi-ness
              20           operations. And, four, there is no evidence that the sal-e
              27           was fraudulent.
              22                       So what's i-n opposition? Well in opposition,
              23           the Plaintiffs     argue that there are issues of fact
              24           regarding the applicability       of the de facto merger
              25           doctrine.    In this regard, Plaintiff       contends that the




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               1           company name remained the same, the location remained the
               2           same and the general busrness operation remaj-ned the same.

               3           In support of this contention, Plaintj_ffs cite a First
               4           Department case from 7996 and claim that. case provides
               5           that "where a successor purchases all or almost aII of the
               6           predecessor corporation's assets or the successor assumes
               1           a name nearly identical to the that of the predecessor's
               B           corporaLion, this may be sufficient         to imply liability     on

               9           the successor.rr That's from your affidavit,          Miss Kramer,
              10           page seven. That can be found at NYSCEF document number
              11           ]-99.
              I2                         The case cited is Burgos v      Pul-se Combustion,
              13           221 AD2d 295, Frrst Department case. What it actually
              t4           says is that issues of fact exist about a continuation of
              15           business operations or a consolidati-on and merger when
              16           there is evidence to show that the purchaser purchased alI
              L1           of the fixed asseLs, that the predecessor corporation
              1B           ceased to exist after the sale, that the purchaser assumed
              79           a name nearly identical- to the predecessor, that at least
              20           one officer     from the predecessor corporation was retained,
              27           and that the same products were manufactured at the plants
              22           transferred under the purchase agreement.
              23                         Viewing Plaintiffs'   arguments in the light most
              24           favorable to them, as I must do, and beinq cognfzant of
              25           the Appellate Division's deference to a verdict after




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               1           trial- rather than a summary judgment determination, the
               2           Court finds that it is prudent to proceed to a non-jury
               3           trial   to determrne the issue of whether the de facto
               4           merger doctrine applies or whether Shara EIlinger's
               5           purchase of OnStage Dance, Inc. was a mere continuation of
               6           Deana Chiappone's Onstage Dance studio.          Accordingly, a
               1           bench trial     on the issue of successor liabil_ity     will
               B           proceed prior to jury selecti_on, which is set for October
               9           Bth. We'll circle back to that i-n a moment.
              10                         Turning to motion number nine/ as previously
              11           not.ed, Plaintiffs    move for default judgment as against
              12           Deana Chiappone d/b/a OnStage prem:-sed soIely upon Justice
              13           Chimes' October 13th, 2023 conditional order wherein she
              L4           conditionally granted the striking of the Answer upon
              15           Deanna Chiappone's failure      to appear for deposition by
              L6           November 30th of 2023.
              l1                         Clearly, obviously, the condition just:_fying the
              1B           strikinq of the Answer was Ms. Chi-appone's refusal to sit
              79           or inability     to sit for a deposition.      It is wel-l settled,
              ZU           the case law is legion that the extreme remedy of striking
              2t           a pleading is appropriate where there 1s a clear showing
              22           that the failure to comply wi-th discovery demands was
              z3           wil-Iful,   contumacious or in bad faith.       Such an extreme
              24           remedy requlres a showing that the Defendant was guilty            of
              25           a deliberately evasive, misleading and uncooperative




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               1           course of conduct.
               2                       As I said, the case law is J_egion. Some of it
               3           from the Fourth Department, I have even published a case
               4           on it.    If you want a review of all the cases/ see 2
               5           Modern New York Discovery section 30:50, Second Edition.
               6                       Noticeably absent from Plaintiffs'        papers was
               1           the ongoing discussion with Justice Chimes wlth counsel
               B           regarding Deana Chiappone's depositions.           These
               9           discussions occurred during court conferences throughout
              10           November and December of 2023, whi-ch resulted in the

              11           taking of Deana Chrappone's deposition on January 3rd of
              T2           2024.

              13                       The Court finds that there is no good faith
              74           basis for motion number nine.         It is compJ-etely devoid of
              15           merit.    It is deni-ed.
              L6                       Regarding motion number ten, as previously
              L1           noted, Plaintiffs     filed a timely motion for summary
              18           judgment against Matthew Mullett consistent with the
              L9           deadl,ines provided in the Trial Scheduling Order.
              20                       On July l8th    of 2024 at \2:01 p.R., the Court
              27           received an e-mail from Jessica Benham from Ms.
              22           Al-tshj-1er's firm stating the followinq:         "Our office
              Z3           represents OnStage Dance, Inc. in reqards to the above
              24           referenced case."      In fact, MS. Altshrler's      office   does

              25           not represent OnStage Dance, Inc., nor has it ever




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               1           represented OnStage Dance, Inc.        Instead they represent
               2           Matthew MuIIet.t.       The same e-maif qoes on to say:       "Our
               3           office is requesti-ng an adjournment on motion number nine
               4           for thirty     days so we can get. toqether an opposition. "
               5           However, motion number ni-ne does not relate to their
               6           client.      Motron number ten relates to Mr. Mullett.
               1                         Defendant Mull-ett failed to file    a timely
               B           response under the deadlines set forth in the Court's
               9           Trial- Scheduling Order. And still        to this day no
              10           responding papers have been filed.         Nor was there a
              11           response to Ms. St. Mary's e-mai}.         Nor has MuIIett set
              72           forth a good cause for failure to comply with the Court's
              13           dead1ines. If Ms. Altshiler       did today, I may have missed
              l4           it, because things were breaking up aII over the place,
              15           but thrs is not an unanticrpated problem. I suggested at
              T6           the last appearance it would be a good idea to appear
              l1           personally to avoid the very problems we were having
              1B           today.
              19                         Plaintiffs'   summary judgment motion against

              20           Defendant Mullett is granted.
              27                         Regarding the lmportance of summary judgment
              22           motion deadlines, see Garner v. Rosa Copland 1B98               I'm
              23           sorry/ 189 AD3d 2L05, FourLh Department case from 2020,
              24           upholding a decision of mine regarding pretty much the
              25           same issue.




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               1                       So, to recap, jury selection currently scheduled
               2           for October Bth, 2024. The Court finds that Defendant
               3           Mullett is individually       liabl-e as a matter of law.     The

               4           measure of damages relative       to Defendant Mullett shall be
               5           determined by a trial-.       Given what f have already set
               6           forth, what I know to be the practicalities          of what I have
               1           outlined before, the Court is finding there's an issue of
               B           fact regard:-ng whether Defendant OnStage Dance, Inc. is a
               9           successor in Iiabil-ity    relatrve to Deana Chiappone d/b/a
             10            Onstage Dance. A bench trial        to resolve this issue needs
             11            to be scheduled. Available dates for a bench trial
             72            reqarding successor Iiability       -- bench trial    here in front
             13            of me. It's got to be before October Bth. Here rs the
             14            dates, you t.eII me which date is best:         September 9th;
             15            September 16th; September 17th,' September 23rd; September
             t6            25Lh; September 30th. Ms. Kramer, choose one. We'II see
             71            if Mr. Muscato j-s avaj-Iable that day. I cannot hear you,
             1B            Ms. Kramer.
             19                        MS. KRAMER: I'm sorry, your Honor. Did you say
             20            September 17th?
             27                        THE COURT: September 9th, September 1-6,

             22            September 71, September 23rd, September 25, September 30.
             Z5                        MS. KRAI4ER: Your Honor, we do have a'final
             24            pretrial   conference on September 17th so maybe that day
              Z5           makes sense because everybody has to be there in person




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                   1       anyway.

                   Z                   THE COURT: Okay.

                   3                   MS. KRAMER: That's just a suggestion but
                   4                   THE COURT: I suppose we can do it          if everybody
                   5       is going to be here -- well, probably should do it before
                   6       the 17th then if we're having a final pretrial           conference
                   1       on the 17th. What about the 9th or the 16th?
                   B                   MS. KRAMER: I'm available the 16th.
                   9                   THE COURT: How does the 16th work for          you, Mr.
              10           Muscato.
              11                       MR. MUSCATO: It      works, your Honor.
              72                       THE COURT: September 16th, j_n person here,

              13           9:30. Anybody who wants to sit at a lawyer's tab1e has
              74           got to be here in person. Ms. Chiappone, that includes
              15           you. And, Ms. A1tshiler, that includes you. And of
              L6           course that includes Mr. Muscato and Ms. Kramer.
              1-
              LI           September 16th at 9:30.
              1B                       Okay. Next, following the September 16th bench
              L9           tri-al lury selection wil-I commence on October Bth of 2024
              20           on the issue of liability      only wj-th respect to Deana
              2t           Chiappone d/b/a OnStage and Onstage Dance Inc. should the
              22           latter be determined to be the successor IiabiJ.ity.              So

              23           figure out the legal issue of successor liability             first
              24           and then qo from there, see who's going to be seated at
              25           the Defendants' table at the actual- trial         in early




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                1          October. Immediately fol-l-owing the liability          verdict --
               Z           if t.here is such a favorabJ-e liability       verdict to the
               3           Plaintiffs       jury selection wifl     coflrmence October 15th of

                4          2024 for a damages triaf       aga:-nst Defendant MuIIett and any
               5           remaining OnStage Defendants.
                6                       We're next returnable September 16th at 9:30 and
               1           the day after is a finaf pretrial        conference. Everything
                o          should be in person. Keep the 17th clear to               just in
                9          case I have to do something on the 16th. AII right,               Ms.

              10           Kramer and Ms. Muscato? Keep the 17th open too.             you have
              11           to be here for final pretrial       conference anyway.
              1,2                       So, there's a lot that happened today.         Ms.

              13           Kramer, I am directing you to submit the proposed order
              T4           since you prevailed on two of the three motions that were
              15           before the Court.
              76                        MS. KRAPIER: AbsoJ-ute1y. Thank you, your Honor.
              71                        THE COURT: Do it     within 30 days. please attach
              1B           a transcript of the entirety of today's proceedings.
              79           Donrt leave until you get Ms. Coghlan's contact
              20           information.     And the reason that I do that is should a
              2l           party wish to appeal me to the Fourth Department, that's
              22           fine.   I just want the Fourth Department to know what I
              t3           was thinking, what my rationale was, what my reasoning
              24           was, and so forth.      Okay. We'fl see everybody on the
              25                        MS. ALTSHILER: I just want to note for the




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               1           record my exception to the ruling as to Matthew,s
               2           inabil-ity to put in opposition.
               3                       THE COURT: WelI, Ms. Altshiler,        you have a
               4           record.    I mean, you've never at.tempt.ed to put in an
               5           opposition to this day, so you have my ruling.           Okay?

               6                       Thank you, Counsel.
               1                                   *****
               B


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